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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                          NORTHERN DIVISION AT COVINGTON
                             CASE NO. 2:21-CV-00072-DLB

JEFFREY CUNDIFF                                                                   PLAINTIFF

v.

DOUGLAS ULLRICH, et al.                                                       DEFENDANTS


                   DEFENDANT’S SUPPLEMENTAL MOTION IN LIMINE


       Defendant, Douglas Ullrich, by and through counsel, respectfully moves the Court to

preclude Plaintiff, Jeffrey Cundiff, from eliciting testimony about, introducing evidence

related to, or referencing the disposition of the traffic citation he received following the

traffic stop of June 8, 2020, because the evidence is not relevant to the issues for trial and

alternatively, under FRE 403. A Memorandum in Support and proposed Order are attached.

                                                  Respectfully submitted,


                                                  /s/ Jeffrey C. Mando
                                                  Jeffrey C. Mando, Esq. (#43548)
                                                  Jennifer L. Langen, Esq. (#87960)
                                                  ADAMS LAW, PLLC
                                                  40 West Pike Street
                                                  Covington, KY 41011
                                                  859.394.6200 | 859.392.7200 – Fax
                                                  jmando@adamsattorneys.com
                                                  jlangen@adamsattorneys.com

                                                  Attorneys for Defendant, Douglas Ullrich, in
                                                  his individual capacity as a Covington,
                                                  Kentucky Police Officer




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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 22nd day of February, 2024, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice
of electronic filing to: Christopher D. Roach, Esq. and Benjamin T.D. Pugh, Esq.


                                                /s/ Jeffrey C. Mando
                                                Jeffrey C. Mando, Esq.




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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                           NORTHERN DIVISION AT COVINGTON
                              CASE NO. 2:21-CV-00072-DLB

JEFFREY CUNDIFF                                                                       PLAINTIFF

v.

DOUGLAS ULLRICH, et al.                                                           DEFENDANTS


 DEFENDANT’S MEMORANDUM IN SUPPORT OF SUPPLEMENTAL MOTION IN LIMINE


       Defendant, Douglas Ullrich, by and through counsel, by and through counsel, for his

Memorandum in Support of his Supplemental Motion in Limine, states as follows:

I.     INTRODUCTION

       On June 8, 2020, Officer Ullrich initiated a traffic stop of Jeffrey Cundiff after observing

Cundiff disregard a stop sign at the intersection of Kavanaugh and 14th Streets. During the

stop, Officer Ullrich came to suspect that Cundiff and/or his passenger were involved in drug

crimes, and searched Cundiff’s clothing and person for evidence of such crimes. At the

conclusion of the traffic stop, Officer Ullrich issued a citation to Cundiff for disregarding a

traffic control sign. For undisclosed reasons, the Kenton District Court dismissed the citation

without prejudice on July 16, 2020.

II.    THE DISPOSITION OF THE CITATION IS NOT RELEVANT TO PLAINTIFF’S CLAIMS

       Cundiff must be precluded from telling the jury, or presenting evidence that, the

citation for running the stop sign was dismissed, because the disposition of the citation is not

relevant to his claims.

       Evidence is not admissible if it is not relevant. Fed. R. Evid. 402. Evidence is relevant

if it has any tendency to make a fact more or less probable, and the fact is of consequence in



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determining the action. Fed. R. Evid. 401. Given the nature of Cundiff’s claims, the disposition

of his citation has no tendency to make more or less probable any fact that is of consequence

to the determination of this action.

       A.      THE DISPOSITION OF THE CITATION IS NOT RELEVANT TO CUNDIFF’S
               FOURTH AMENDMENT CLAIM

       Cundiff’s Fourth Amendment claim is predicated on an allegedly unreasonable search

of his clothing and person. Thus, the facts that are of consequence to Cundiff’s Fourth

Amendment claim fall in either of two categories: (1) those that reflect Officer Ullrich’s

knowledge that evidence of a drug crime would be found in Cundiff’s clothing or on his

person, U.S. v. Stepney, 2024 U.S. Dist. LEXIS 4459 (S.D. Ohio), citing Illinois v. Gates, 462 U.S.

213 (1983) (probable cause for a search exists when there is “a fair probability that

contraband or evidence of a crime will be found in a particular place,” a determination that

depends on “the objective facts known to the officers at the time of the search”); or, (2) those

that reflect where the search occurred, who was present during the search, the steps Officer

Ullrich took in conducting the search, and similar factors that define the nature of the search

and the circumstances under which it was conducted, U.S. v. Montoya de Hernandez, 473 U.S.

531 (1985) (“What is reasonable depends upon all of the circumstances surrounding the

search … and the nature of the search … .”).

       The Kenton District Court’s dismissal of the citation without prejudice has no

tendency to prove or disprove any fact that reflects Officer Ullrich’s knowledge that evidence

of a drug crime would be found on Cundiff. Moreover, the dismissal of the citation without

prejudice has no tendency to prove or disprove any fact that reflects the nature of the search

or the circumstances under which it was conducted. Officer Ullrich’s belief that Cundiff had

run the stop sign at Kavanaugh and 14th Streets did not influence any of the factors that


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Cundiff claims made the scope of the search unreasonable, such as where the search

occurred, who was present when the search occurred, or the steps Officer Ullrich took in

conducting the search.

       Because it has no tendency to prove or disprove any fact that is of consequence to

Cundiff’s unreasonable search claim, evidence related to the dismissal of the citation must

be excluded from evidence at trial.

       B.     THE DISPOSITION OF THE CITATION IS NOT RELEVANT TO CUNDIFF’S
              FIRST AMENDMENT RETALIATION CLAIM

       Likewise, the disposition of the citation is not relevant to Cundiff’s First Amendment

retaliation claim, which is predicated on the assertion that Officer Ullrich conducted the

search in retaliation for being called a “dick sucker” by Cundiff.

       The only facts of consequence to the determination of that claim are: (1) whether

Officer Ullrich’s search of Cundiff would deter a reasonable person from calling a police

officer a name; (2) whether Officer Ullrich would have searched Cundiff but for the fact that

Cundiff had called Officer Ullrich the name; and, (3) whether Officer Ullrich had probable

cause to believe that evidence of a drug crime would be found on Cundiff, such that the search

was legitimate and non-retaliatory. Nieves v. Bartlett, 139 S. Ct. 1715 (2019). The dismissal

of the citation for running the stop sign without prejudice has no tendency to prove or

disprove any of these facts.

       Because it has no tendency to prove or disprove any fact that is of consequence to

Cundiff’s First Amendment retaliation claim, evidence related to the dismissal of the citation

must be excluded from evidence at trial.




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III.   ASSUMING ARGUENDO THE DISMISSAL OF THE CITATION IS RELEVANT, IT
        SHOULD NEVERTHELESS BE EXCLUDED UNDER FEDERAL RULE OF EVIDENCE
        403.

       Assuming arguendo the dismissal of the citation is relevant, it should nevertheless be

excluded under Federal Rule of Evidence 403, which provides that “the court may exclude

relevant evidence if its probative value is substantially outweighed by a danger of one or

more of the following: unfair prejudice, … [or] misleading the jury … .”

       As previously demonstrated, five facts (or categories of facts) are of consequence to

the determination of this action: (1) those that reflect Officer Ullrich’s knowledge that

evidence of a drug crime would be found in Cundiff’s clothing or on his person; (2) those that

reflect where the search occurred, who was present during the search, the steps Officer

Ullrich took in conducting the search, and similar factors that define the nature of the search

and the circumstances under which it was conducted; (3) whether Officer Ullrich’s search of

Cundiff would deter a reasonable person from calling a police officer a name; (4) whether

Officer Ullrich would have searched Cundiff but for the fact that Cundiff had called Officer

Ullrich the name; and (5) whether Officer Ullrich had probable cause to believe that evidence

of a drug crime would be found on Cundiff, such that the search was legitimate and non-

retaliatory. Assuming arguendo the dismissal of the citation without prejudice is probative

of one or more of these facts, its probative value is minimal at best.

       On the other hand, if evidence that the citation was dismissed were to be presented

at trial, that evidence would substantially mislead the jury and cause substantial unfair

prejudice to Officer Ullrich. Specifically, evidence that the citation was dismissed would likely

cause the jury to infer that the citation was dismissed because the traffic stop was not

justified in the first place. That would be misleading. Citations can be dismissed for lots of



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reasons, most of which have nothing to do with the justifications for the traffic stops at which

they were written. Although the Kenton District Court did not explain why it dismissed the

citation, its Order makes clear that the dismissal was without prejudice which means the

Commonwealth was not precluded from prosecuting Cundiff in the future for running the

stop sign on June 8, 2020. That suggests the citation was not dismissed for lack of justification

for the traffic stop. After all, had it believed the traffic stop was unjustified, the Kenton

District Court could have barred any future prosecution of Cundiff on the underlying charge

by dismissing the citation with prejudice. Thus, to admit evidence that the citation was

dismissed would mislead the jury.

       Additionally, evidence that the citation was dismissed would unnecessarily confuse

the issues for resolution by the jury, which are actually quite narrow. Cundiff claims Officer

Ullrich violated his Fourth Amendment rights by conducting a search that was unreasonable

in scope, based on the factual allegation that Officer Ullrich “insert[ed] a finger into Plaintiff’s

rectum, repeatedly rub[ed] his hand between Plaintiff’s buttocks and over Plaintiff’s rectum,

fondl[ed] Plaintiff’s genitalia, and view[ed] Plaintiff’s buttocks during the search.” (R.1

Complaint at PageId 5) And, Cundiff claims that Officer Ullrich conducted the search in that

manner to retaliate against Cundiff for calling Officer Ullrich a “dick sucker.” Officer Ullrich

denies he took any of those actions during the search, and denies he conducted the search to

retaliate against Cundiff. Thus, the jury need only determine whether Officer Ullrich touched

Cundiff’s body parts in the manner Cundiff alleges, and what motivated Officer Ullrich’s

decision to search Cundiff. The dismissal of the citation does not relate in any way to whether

or how Officer Ullrich touched Cundiff’s body parts or to Officer Ullrich’s motives in

conducting the search. Thus, the jury will naturally begin to consider the issue to which the



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dismissal of the citation does at first blush seem to relate, i.e., the legality of the initial traffic

stop. In other words, evidence that the citation was dismissed will lead the jury to confuse

the issues. That confusion is completely unnecessary, given that Cundiff has not asserted a

claim based on the legality of the initial traffic stop.

       Finally, evidence that the citation was dismissed would unfairly prejudice Officer

Ullrich. The inference the jury is likely to draw from such evidence – i.e., that Officer Ullrich

was not justified in initiating the traffic stop of Cundiff – would predispose the jury to believe

the scope of the search Officer Ullrich conducted was not justified either. That predisposition

would prejudice Officer Ullrich. And, because the inference on which that predisposition

would be based is faulty, it would be unfair to Officer Ullrich to allow the jury to be so

predisposed. Under these circumstances, it would be unfairly prejudicial to Officer Ullrich to

admit evidence that the citation was dismissed.

       In short, evidence that the citation was dismissed should be excluded because the

very limited probative value it might have is substantially outweighed by the risk that it will

mislead the jury, cause the jury to confuse the issues, and result in unfair prejudice to Officer

Ullrich.

IV.    CONCLUSION

       For these reasons, Defendant, Douglas Ullrich, respectfully requests that the Court

grant its Supplemental Motion in Limine, and issue an order barring Cundiff from

introducing any evidence that the traffic citation was dismissed.




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                                                 Respectfully submitted,


                                                 /s/ Jeffrey C. Mando
                                                 Jeffrey C. Mando, Esq. (#43548)
                                                 Jennifer L. Langen, Esq. (#87960)
                                                 ADAMS LAW, PLLC
                                                 40 West Pike Street
                                                 Covington, KY 41011
                                                 859.394.6200 | 859.392.7200 – Fax
                                                 jmando@adamsattorneys.com
                                                 jlangen@adamsattorneys.com

                                                 Attorneys for Defendant, Douglas Ullrich, in
                                                 his individual capacity as a Covington,
                                                 Kentucky Police Officer


                                CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of February, 2024, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice
of electronic filing to: Christopher D. Roach, Esq. and Benjamin T.D. Pugh, Esq.


                                                 /s/ Jeffrey C. Mando
                                                 Jeffrey C. Mando, Esq.




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